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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                                  CASE NO . 22-8332-BER


    IN RE SEALED SEARCH WARRANT

    _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _!


                                  ORDER TO UNSEAL

          The United States moves to unseal the Search and Seizure Warrant (including

    Attachments A and B) and redacted versions of the inventory of seized items . See

    ECF Nos . 17 (redacted documents) and 18 (motion) . The Court having reviewed the

    motion and being otherwise fully advised, it is ORDERED that the motion is

    GRANTED . The Clerk of Court shall unseal Docket Entry 17 forthwith.

          DONE and ORDERED in Chambers at West Palm Beach, Palm Beach

    County, in the Southern District of Florida, this 12th day of August 2022.




                                           BRUCE E. REINHART
                                           UNITED STATES MAGISTRATE JUDGE
